7/25(2018                                                            Case.net: 1822-CC00869 -Docket Entries
            Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 1 of 46 PageID #: 15

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 Click here to Respond to Selected Documents                                                 Ascending


  07/13/2018          C}rder Granting Leave
                      ORDER GRANTING LEAVE TO AMEND PETITION BY INTER~INEATION SO ORDERED: JUDGE
                      MICHAEL MULLEN

  06/25/2018            otEon fir Leave
                      Motion for Leave to File Second Amended Petition by Interlineation; Exhibit A -Email Showing Consent;
                      Exhibit B -Second Amended Petition; Exhibit C -Proposed Order Granting Motion.
                         Filed By: JOSEPH A OTT
                         On Behalf Of: MARCIA CLARK

  06/04/2018          ~d~tie~ of Service
                      Notice of Service; Affidavit of Service -Ballpark Village.
                         Filed By: JOSEPH R OTT
                         On Behalf Of: MARCIA CLARK
                      Corporation Served
                      Document ID - 18-SMCC-2331; Served To -BALLPARK VILLAGE HOLDINGS BLOCK 600 LLC; Server
                       Served Date - 09-MAY-18; Served Time - 13:14:00; Service Type -Special Process Server; Reason
                      Description -Served

  05/10/2018          Jury Trial Scheduled
                         Scheduled For: 1012912018; 9:00 AM ; MICHAEL KELLAN MULLEN; City of St. Louis

  05/08/2018           Motion to File rr~ende Pet
                       Motion to Amend Petition; Exhibit A -First Amended Petition.
                          Filed By: JOSEPH A OTT
                          On Behalf Of: MARCIA CLARK

  05/01/2018          5umrnans issued-Circuifi
                      Document ID: 18-SMCC-2331, for BALLPARK VILLAGE HOLDINGS BLOCK 600 LLC.

  04130/2018           Request filed
                       Request for Special Process Server.
                          Filed By: JOSEPH A OTT
                          On Behalf Of: MARCIA CLARK

                                                                                                                                   'BtT
  04/27/2018           Filing Info Sheet eFiling
                          Filed By: JOSEPH A OTT

https://www.courts.mo.govtcaseneUcases/search Dockets.do                                                                                                        1!2
7/25/2018                                                Case net: 1822-CC00869 -Docket Entries
            Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 2 of 46 PageID #: 16
      _      ~    _   Pet Filers in Circuit Gf
                      Petition.
                         Filed By: JOSEPH A OTT
                         On Behalf Of: MARCIA CLARK
                      Judge Assigned
                                                                                                  Released 02/Ol/2018
 Case.net Version 5.13.19.1




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                    IN THE CIRCUIT COURT OF ST. LOUIS CITY
                       TWENTY-SECOND JUDICIAL CIRCUIT
                              STATE OF MISSOURI

u::      iT1I_~~~

      Plaintiff,                                     Cause No.:
v.
                                                     Division No.:
BALLPARK VILLAGE HOLDINGS
BLOCK 600, LLC, cUbla. PBR ST. LOUIS:
A COWBOY BAR                                         JURY TRIAL DEMANDED

.~~

JOHN DOE,

      Defendants.

                                             PETITION

                                             Introduction

      1. Plaintiff Marcia Clark ("Clark") brings this personal injury action against Defendant

          John Doe("Doe"} for injuries caused when Defendant Doe negligently operated a

          mechanical bull, causing serious injury.

      2. Plaintiff Clark asserts that Defendant Doe was acting in the course and scope of his

          employ with Defendant Ballpark Village Holdings Block 600, LLC d/b/a PBR St.

          Louis: A Cowboy Bar("PBR"), who is liable for her injuries as well.

                                          Parties and Jurisdiction

      3. Plaintiff Clark resides at Somerset Drive, Urbana, Illinois.

      4. Defendant PBR is a domestic corporation licensed to do business in Missouri. They

          can be served with process on their registered agent at the address listed above.




                                               1
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        5. Defendant Doe is the employee ofPBR who was operating the mechanical bull at the

             time of Plaintiff's injury. Plaintiff requests leave of court to modify her petition

             following initial discovery as to the identity of Defendant Doe.

        6. This is the proper venue per Mo. Rev. Stat. 508.010 because all ofthe facts giving

             rise to Plaintiff's claim for relief occurred at Defendant PBR's location at 601 Clark

             Avenue, St. Louis, Missouri.

                                               Facts Common to All Counts

        7. On or around May 20, 2016, Plaintiff Clark visited tie PBR Bar located at 601 Clark

             St., St. Louis, Missouri.

        8, Defendant PBR owns and operates the bar located at 601 Clark St., St. Louis, Missouri.

        9. Defendant PBR's bar is marketed as a "[1]ively country bar affering cocktails, brews,

             a dance floor & a mechanical bull in rustic chic digs."1

        10. Around 1:30 PM, Plaintiff Clark and her group of friends began to watch the

             mechanical bull located at Defendant PBR's Clark Street bar. At that time, another

             person was riding the bull.

        11. Defendant John Doe was operating the bu11 in the course and scope of his employment

             with Defendant PBR at all times relevant to this lawsuit.

        12. Defendant Doe began trying to coerce Plaintiff Clark to ride the bull around the time

             that Plaintiff Clark started to watch the other woman ride. Defendant Doe teased

             Plaintiff Clark and continued to press her to ride the bull. Defendant Doe also assured

             Plaintiff Clark that the bull was safe and that he would operate it in a slow and relatively

             gentle manner.


I PBR st Louis — Google Search (2018). ~~ttps~flw~~u.~oo~Ie.cc~rrs,'search?ct=P~3R+st+~auis&ie=a~tF8&oe=~ztf-
8&client=firefox-b-1-ab (last visited April 27, 2018).

                                                         2
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      13, After about 15 minutes of coercion and repeated promises that the bull would be

         operated at a very low intensity, Plaintiff Clark agreed to ride the bu11.

      14. When Plaintiff Clark entered the area restricted to bull riders and operators near the

         mechanical bull, she again expressed reservations about riding the bull to Defendant

         John Doe.

      15. Defendant Doe again assured Plaintiff Clark that the bull would be operated a~ a lessor

         intensity during Plaintiff Clark's ride. Defendant Doe even helped boost Plaintiff Clark

         onto the ride, tying in her ankles to the stirrups. Onee on the ride and before it started,

         he again assured Plaintiff Clark that he would operate the bull with less travel, speed

         and intensity than normal.

      16. Defendant Doe then began operating the bull that Plaintiff Clark was riding. The bull

         operated at a low speed, and did a few spins with a small amount of travel for a ride of

         about 30 seconds.

      17. After about 30 seconds riding the bull, Plaintiff Clark told Defendant Dae that she was

         done riding the bull. She said "I'm done" and looked at Defendant Doe.

      18. Defendant Doe acknowledged that Plaintiff Clark was done riding by verbally and non-

         verbally indicating the understanding.

      19. Then, the bull suddenly and without warning to Plaintiff Ciark, the bull heaved and

         pitched. The bull pitched forward, with it's nose and front moving violently downward.

         The downward movement was of greater travel, speed and intensity than at any other

         point during the ride.

      20. Plaintiff Clark's body began flying off the bull because of the violent pitching.

         However, her left ankle had become ensnared by Defendant Doe's method oftying her



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             leg into the bull's stirrups. Her ankle was shattered by the violent and unexpected

             twisting force that threw her from the bull.

       21. After flying off the bull, impacting the ground and beginning to cry and scream from

             the pain, Plaintiff Clark caziie to rest a few feet away from the bull.

       22. Defendant Doe noticed that Plaintiff Clark was hurt, and immediately began yelling to

             his manager that "she signed the waiver! She signed the waiver!" Defendant Dae didn't

             care that Plaintiff Clark was hurt, and only cared about himself.

       23. Defendant Doe was at all times operating the bull in the scope of his employment with

             Defendant PBR.

      24. Defendant PBR operates their bar with policies and procedures regarding the operation

             of their mechanical bull.

      25. Defendant PBR markets itself as an expert in safe mechanical bull riding.

      26. In fact,"PBR" is an acronym for Professional Bull Riders.

      27. As a result ofthe negligence and/or gross negligence of Defendant Doe and Defendant

             PBR, Plaintiff Clark has suffered substantial damages, including a surgery for her

             ankle, and incurred numerous medical bills. She has diminished working capacity and

             lost wages. Her pain continues and is expected to persist for a lifetime. Plaintiff Clark's

             life will never be the same.

                                    Count 1: Negli end ce Against Defendant Doe

      COMES NOW,Plaintiff Clark, and for her claim for negligence against Defendant John

Doe, says:

      28. Plaintiff adopts and resCates all of the above paragraphs as if set for fully here again.
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      29. AY all times mentioned herein, Defendant Doe was an agent, servant, andlor employee

         of Defendant PBR.

      30. Defendant Doe's job duties included describing risks of bull riding and complying

         with patron's requests to end bull rides.

      31. Plaintiff requests leave of court to modify this petition and identify Defendant Doe

         with particularity following Defendant PBR's responses to initial discovery regarding

         their identity.

      32. Defendant Doe held themselves out to be an expert in safe and professional

         mechanical bull riding.

      33. Defendant Doe had a duty to use the same level of care as a professional mechanical

         bull operator, and to use reasonable care to protect patrons from harm.

      34. Defendant Doe breached these duties and was guilty of the following acts of

         negligence, carelessness, and recklessness:

             a. Failure to operate the mechanical bu11 in a safe manner;

             b, Failure to explain the risks associated with mechanical bu11 riding;

             c. Failure to stop the bull after Plaintiff Clark requested;

             d. Failure to understand how to operate the bull in a safe manner;

             e. Failure to maintain the bull in good repair;

             £ Failure to slow the bull so that Plaintiff Clark could get off;

             g. Failure to tie Plaintiff Clark's leg into the stirrup in a mamler that would

                 prevent her from having her ankle shattered if she came ofF the bull;

              h. Causing the bull to suddenly and violently pitch forward after Plaintiff Clark

                 requested getting off the bull, resulting in serious injury.



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      35. Defendant Doe was performing the duties as a mechanical bull operator in a careless,      ~Yq

                                                                                                    4 E


         reckless and negligent manner in that they:

             a. Failed to use reasonable care;

             b. Failed to observe the risk associated with operating the risechanical bu11;

             e. Failed to explain the risk to Plaintiff Clark;

             d. Coercing Plaintiff Clark to ride the bull against her will;

      36. In each respect itemized above, Defendant Doe showed a complete indifference to

         and/or conscious disregard for the safety of others, including Plaintiff Clark and

         others similarly situated to Plaintiff Clark.

      37. Defendant Doe failed to operate the bull in accordance with the policies and practices

         of safe mechanical bull operation.

      3$. All of Defendant Doe's negligent acts related to operation ofthe mechanical bull are

         imputed to Defendant PBR by virtue of respondeat superior.

      39. Plaintiff Clark was thrown from the bull and had her ankle shattered as a direct and

          proximate result of the negligence of all defendants.

      40. Plaintiff Clark's injuries were jointly and severally caused by the negligence of all

         Defendants, and each of them, and Defendants' agents, servants, and employees,

          without any contributing negligence on the part of Plaintiffs.

      41. Defendant PBR is vicariously liable for the negligent acts of Defendant Doe as they

         relate to Plaintiff Clark's injuries.

      42. Plaintiff has suffered substantial injuries as a result of the negligence of all named

          defendants, including but not limited to past and future medical bills, past and future

          lost wages, and past and future pain and suffering.
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           WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each

           ofthem,jointly and severally, with all other Defendants for damages as follows:

               a. For actual damages in an amount in excess of $25,000.00 in an amount that is

                  found. fair and reasonable to compensate her for her injuries and damages;

               b. For aggravated damages (punitive damages) or darnages for the aggravating

                   circumstances as will serve to punish and deter Defendants from future

                   wrongdoing;

              c. For all other damages pied together with their casts and for such other relief as

                  this Court deems just and proper under the circumstances.

                  Count 2: Vicarious Liability and Negligence Against Defendant PBR

       COMES NOW Plaintiff Clark, and for her claim of negligence by virtue of vicarious

liability against Defendant PBR,states as follows:

       43. Plaintiff adopts and restates all of the above paragraphs as if set forth fully here again.

       44. At the time ofPlaintiff Doe's negligence, Defendant Doe was an agent, servant and

           employee under the control, right of control,join and muhzal control, or joint and

           mutual right of control of Defendant PBR.

       45. All acts of negligence, as described above, on the part of Defendant Doe were

           committed within the course and scope of Defendant Doe's employment of, with and

           for Defendant PBR and Defendant PBR is vicariously liable for the actions or

           inactions of Defendant Doe ir1 relation to Plaintiff's injuries.

       46. Defendant PBR was further negligent in that it permitted Defendant Doe to operate

           the mechanical bull in a reasonably prudent manner, when in fact Defendant Doe

           could not so operate the bull in that way.
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      47. Defendant PBR was further negligent in that it penliitted. Defendant Doe to operate

         the mechanical bull with adequate training and expertise to be considered a

         "professional bull rider."

      4$. Plaintiff sustained severe injury as a direct and proximate result of the negligence of

         Defendants, and each ofthem,jointly, severally and in combination with the

          negligence of co-defendants as set far and alleged herein and hereinafter.

      49. Plaintiff's injury was caused joinly and severally by the negligence of all named

         Defendants, and each ofthem, and Defendants' agents, servants, and employees,

          without any contributing negligence on behalf of Plaintiffs.

      50. Defendant.PBR is vicariously liable for the negligent acts of Defendant Doe as i~

         relates to Plaintiff's injury.

      51, Plaintiff has suffered substantial injuries as a result ofthe negligence of all named

         defendants, including but not limited to past and future medical bills, past and future

         lost wages, and past and future pain and suffering.

          WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each

             ofthem,jointly and severally, with all other Defendants for damages as follows:

             a. For a actual damages in an amount in excess of $25,000.00 in an amount that

                 is found fair and reasonable to compensate her for her injuries and damages;

             b. For aggravated damages (punitive damages) or damages for the aggravating

                 circumstances as will serve to punish and deter Defendants from future

                 wrongdoing;

             c. For all other damages pled together with their costs and for such other relief as

                 this Court deems just and proper under the circumstances.
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                  Count 3• Negligent Hiring and Supervision Against Defendant PBR

                  COMES NOW Plaintiff Clark, and for her claim of negligent hiring and

      supervision against Defendant PBR,states as follows:

      52. Plaintiff adopts and restates all of the above paragraphs as if set forth fully here again.

      53. Defendant PBR was further negligent in the following manners and particulars:

              a. They failed to make a reasonable inquiry as to Defendant Doe's competence

                  to safely operate the mechanical bull;

              b. They selected an incompetent and unfit staff member;

              a They failed to select a competent and fit staff member;

              d. They hired and retained an unsafe and unqualified staff member; and,

              e. They hired and retained an inadequately trained and incompetent staff

                  member.

      54. Defendant PBR owed the general public, including Plaintiff, a duty to determine the

          qualification of its agents, servants and employees, including but not limited ~o:

              a. Adequately evaluating applicants before hiring them as mechanical bu11

                  operators; and,

              b. Adequately training and supervising said agents, servants and employees; and,

              e. Adequately evaluating these employees'job perforn7ance so as to discharge

                  any incompetent or negligent employee before they injured Che public.

       55. 1t was the duty ofPBR to exercise ordinary care not to hire or retain an employee that

          PBR knew or should have known posed a risk of harm to others where is is

          reasonably foreseeable that Defendant Doe was reasonably likely to make the type of

          mistake that injured Plaintiff.



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       56. As a direct and proximate result ofthe negligence of defendants, and each of them,

          jointly, severally, and in combination with the negligence of co-defendants as set

          forth and alleged herein and hereinafter, Plaintiff suffered serious injury.

       57. Plaintiff has suffered substantial damages because of the negligence of all named

           defendants, including but not linuted to past and future medical bills, past and future

           lost wages, and past and future pain and suffering.

           WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each

              of them,jointly and severally, with all other Defendants for damages as follows

              a. For a actual damages in an amount in excess of$25,000.00 in an amount that

                  is found fair and reasonable to compensate her for her injuries and damages;

              b. For aggravated damages (punitive damages) or damages for the aggravating

                  circumstances as wi11 serve to punish and deter Defendants from future

                  wrongdoing;

              c. For all other damages pled together with their costs and for such other relief as

                  this Court deems just and proper under the circumstances.

Submitted this 27th Day of April, 2018.

                                                     Respectfully submitted,

                                                     O~rT LAw FIRM



                                                     Joseph A. Ott, #67889
                                                     6115 Eveline Street
                                                     St. Louis, MO 63139
                                                     Telephone: (314)293-3756
                                                     Facsimile: (314) 228-0021
                                                     Attorneysfar Plaintiff




                                                10
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 13 of 46 PageID #: 27




                        IN THE CIRCUIT COURT OF ST. LOUIS CITY
                           TWENTY-SECOND JUDICIAL CIRCUIT
                                  STATE OF MISSOURI

 MARCIA CLARK,

          Plaintiff,                              Cause No.: 1822-CC00869
 v.
                                                  Division No.: 1
BALLPARK VILLAGE HOLDINGS
BLOCK 600, LLC,d/b/a PBR ST. LOUIS:
A COWBOY BAR

 And

JOHN DOE,

          Defendants.

                        REQUEST FOR SPECIAL PROCESS SERVER

        COMES NOW Plaintiff Clark, through her attorney, and pursuant to Mo. Rev. Stat §
 506.140 requests that the court appoint Mr. Tim Moore, Pro Serve, 6614 Clayton Road 311, St.
 Louis, M4 63117, as special process server in this case.

 Serve:

Manager on Duty
PBR: A Cowboy Bar
601 Clark Street
St. Louis, MO 63101

                                                  Respectfully submitted,

                                                  OTT LAW FIRM



                                                  Joseph A. Ott, #678$9
                                                  6115 Eveline Street
                                                  St. Louis, MO 63139
                                                  Telephone: (314)293-3756
                                                  Facsimile: (314)228-0021
                                                  Attorney'sfor Plaintiff
             Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 14 of 46 PageID #: 28


` ~:~~~~ ~       jN TIDE 22ND JUDICIAL CIRCUIT COURT,CITY OF ST LOUIS,MISSOURI

 Judge or Division:                                                     Case Number: 1822-CC00869
 MICHAEL KELLAN MtiLLEN                                                                                                                   T MOORE
 PlaintifflPetitianer:                                                  Plaintiff'sJPetitioner's Attorney/Address
 MARCIA CLARK                                                           JOSEPH A OTT
                                                                        1432 KENDON DR
                                                                  vs.   SAINT LOUIS, MO 63131
 DefendantlRespondent:                                                  Court Address:
  BALLPARK VILLAGE HOLDINGS BLOCK 600                                   CIVIL COURTS BUILDING
 LLC                                                                    10 N TUCKER BLVD
                                                                        SAINT LOUIS, MO 63101
 Nature of Suit:
 CC Pers Injury-Other                                                                                                                    (Date File Stam
                                                                   Summons in Civil Case
                                                                       __
      The State of Missouri to: BALLPARK VILLAGE HOLDINGS BLOCK 600 LLC
                                Alias: DBA PBR ST LOUIS A COWBOY BAR
  MANAGER ON DUTY
  PBR: A COWBOY BAR                                                                                                  r
  601 CLARK STREET
  SAINT LOUIS, MO 63102
       CpUK7'SR.hI QF'                You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                above address all ~dithin 30 days after receiving this summons,exclusive of the day of service. If you fail to
                                file your pleading,judgment by default may be taken against you for the relief demanded in the petition.
                                                May 1, 2018                                     `
                                                                                                1.
                                                                                                 '         ~..~~~i           '
                    -                                       Date                                                      Clerk ~
          CITY t)F ~]`LC3i31S
                                          Further Inforn~ation:
                                                                        Sheriff's or Server's Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one}
      ❑ delivering a copy ofthe summons and a copy of t1~e petition to the Defendant/Respondent.
      ❑ leaving a copy ofthe summons and a copy of the petition at the dwelling place or usual abode of the DefendantlRespondent wiCh
                                                                 a person of the Defendant's/Respondent's family over the age of 15 years.
      ❑ (for service on a corporation) delivering a copy ofthe summons and a copy of the peritic~n to
                                                                                      (name)

      ❑ other

     Served at                                                                                                                                  (address)

     in                                             (CountylCiry of St. Louis), MO,on                                (date) at                         (time).


                        Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                       Must be sworn before a notary public if not served by an authorized officer:
                                       Subscribed and swore to before me on                                                   (date).
               (Seal)
                                       My cormnission expires:
                                                                                   Date                                        NoYary Public
      Sheriff's Fees
      Summons                      $
      Non Est                      $
      Shea•iffls Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (_       miles @ $.       per mile)
      Total
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.




OSCA(7-OS) SM30(SMCC)For CoiErt Use Offaly: Document Id # 18-SMCC-2331                         1 of I                Civil Procedure Fonu No. 1. Rules 54.01- 54.05,
                                                                                                             54.13, and S~k.20; SOb.120-506.140, and 506150 RSMo
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                       IN THE CTRCUIT COURT OF ST. LOUIS CITY
                          TWENTY-SECOND JUDICIAL CIRCUIT
                                 STATE OF MISSC}URI

 MARCIA CLARK,

        Plaintiff,                                       Cause No.: 1822-CC00869
v.
                                                       Division No.: 1
BALLPARK VILLAGE HOLDINGS
BLOCK 600, LLC, d/b/a PBR ST. LOUIS:
A COWBOY BAR



JOHN DOE,

        Defendants.

                       PLAINTIFF'S MOTION TO AMEND PETITION

        COMES NOW Plaintiff Clark through her attorney and states as follows in support of

this Motion to Amend Petition:

     1. Plaintiff seeks leave of court to amend her Petition pursuant to Missouri Rule of Civil

        Procedure 55.33, which states that "a pleading may be amended once as a matter of

        course at any time before a responsive pleading is served..."

     2. Plaintiff filed her Petition on Apri127, 2018.

     3. Counsel for Plaintiff has attached to this motion as Exhibit A the proposed First

        Amended Petition.

     4. No responsive pleading has been served as of this 8th day of May,2018.

     WHEREFORE,Plaintiff Clark requests the court enter her Motion to Amend Petition, and

 enter the attached First Amended Petition as her initial pleading for this case.

                                                         Respectfully submitted,

                                                         OTT Law FIRM

                                                         ~-       `~ t
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 16 of 46 PageID #: 30




                                          Joseph A. Ott, #67889
                                          6115 Eveline Street
                                          St. Louis, MO 63139
                                          Telephone: (314)293-3756
                                          Facsimile: (314)228-0021
                                          Attorneysfor Plaintiff
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 17 of 46 PageID #: 31




                    IN THE CIRCUIT COURT OF ST. LOUIS CITY
                       TWENTY-SECOND JUDICIAL CIRCUIT
                              STATE OF MISSOURI

MARCIA CLARK,

      Plaintiff,                                     Cause No.: 1822-CC00869
v.
                                                     Division No.: 1
BALLPARK VILLAGE HOLDINGS
BLOCK 600, LLC, d/bla PBR ST. LOUIS:                                                             0

A COWBOY BAR                                                                                     k




      Serve:
                                                     JURY TRIAL DEMANDED
      Manager on Duty
      PBR: A Cowboy Bar
      601 Clark Street
      St. Louis, MO 631Q1


And

JOHN DOE,

      Defendants.

                                  FIRST AMENDED PETITION

                                             Introduction

      1. Plaintiff Marcia Clark ("Clark") brings this personal injury action against Defendant

          John Doe("Doe")for injuries caused when Defendant Doe negligently operated a

          mechanical bull, causing serious injury.

      2. Plaintiff Clark asserts that Defendant Doe was acting in the course and scope of his

          employ with Defendant Ballpark Village Holdings Block 600, LLC d/b!a PBR St.

          Louis: A Cowboy Bar("PBR"), who is liable for her injuries as well.

                                         Parties and Jurisdiction

      3. Plaintiff Clark resides at Somerset Drive, Urbana,Illinois.

                                               1
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 18 of 46 PageID #: 32




         4. Defendant PBR is a domestic corporation licensed to do business in Missouri. They

              can be served with process on their registered agent at the address listed above.

         5. Defendant Doe is the employee ofPBR who was operating the mechanical bull at the

              tune ofPlaintiff's injury. Plaintiff requests leave of court to modify her petition

              following initial discovery as to the identity of Defendant Dae.

         6. This is the proper venue per Ma. Rev. Stat. 508.010 because all ofthe facts giving

              rise to Plaintiffs claim for relief occurred at Defendant PBR's location at 601 Clark

              Avenue, St. Louis, Missouri.

                                                   Facts Common to All Counts

         7. On or around May 20, 2416, Plaintiff Clark visited the PBR Bar located at 601 Clark

              St., St. Louis, Missouri.

         8. Defendant PBR owns and operates the bar located at 601 Clark St., St. Louis, Missouri.

         9. Defendant PBR's bar is marketed as a "[i]ively country bar offering cocktails, brews,

              a dance floor & a mechanical bull in rustic chic digs."'

         10. Around 1:30 PM, Plaintiff Clark and her group of friends began to watch the

              mechanical bull located at Defendant PBR's Clark Street bar. At that time, another

              person was riding the bull.

         11. Defendant John Doe was operating the bull in the course and scope of his employment

              with Defendant PBR at all times relevant to this lawsuit.

         12. Defendant Doe began Crying to coerce Plaintiff Clark to ride the bull around the time

              that Plaintiff Clark started to watch the other woman ride. Defendant Doe teased

              Plaintiff Clark. and continued to press her to ride the bull. Defendant Doe also assured


 PBR st Louis — Googlc Search (2018). rte          -,~~~~4v~c~o~ ~~: ;,~ ~rrh`?c~—PBT{-~~~   i ~iti~~ie=utf=8&oe=€~tf-
8&client=fitr ~~ :.-b-1-gib (last visited Apri127, 2018).                 —
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          Plaintiff Clark that the bull was safe and that he would operate it in a slow and relatively

          gentle manner.

      13. After about 15 minutes of coercion and repeated promises that the bu11 would be

          operated at a very low intensity, Plaintiff Clark agreed to ride the bull.

      14. When Plaintiff Clark entered the area restricted to bull riders and operators near the

          mechanical bull, she again expressed reservations about riding the bull to Defendant

          John Doe.

      15. Defendant Doe again assured Plaintiff Glark that the bull would be operated at a lessor

          intensity during Plaintiff Clark's ride. Defendant Doe even helped boost Plaintiff Clark

          onto the ride. Once on the ride and before it started, he again assured Plaintiff Clark

          that he would operate the bu11 with less travel, speed and intensity than normal.

      16. Defendant Doe then began operating the bull that Plaintiff Clark was riding. The bull

          operated at a low speed, and did a few spins with a small amount of travel for a ride of

          about 30 seconds.

       17. After about 30 seconds riding the bull, Plaintiff Clark told Defendant Dae that she was

          done riding the bull. She said "I'm done" and looked at Defendant Doe.

       18. Defendant Doe acknowledged that Plaintiff Clark was done riding by verbally and non-

          verbally indicating the understanding.

       19. Then, the bull suddenly and without warning to Plaintiff Clark, the bull heaved and

          pitched. The bull pitched forward, with it's nose and front moving violently downward.

          The downward moveizient was of greater travel, speed and intensity than at any other

          point during the ride.




                                                 3
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       20. Plaintiff Clark's body began flying off the bull because of the violent pitching.

              However, her left ankle was caught on the bull. Her ankle was shattered by the violent

              and unexpected twisting force that threw her from the bull.

       21. After flying off the bull, impacting the ground and beginning to cry and scream from

              the pain, Plaintiff Clark came to rest a few feet away from the bull.

       22. Defendant Doe noticed that Plaintiff Clark was hurt, and immediately began yelling to

              his manager that"she signed the waiver! She signed the waiver!" Defendant Doe didn't

              care that Plaintiff Clark was hurt, and only cared about himself.

       23. Defendant Doe was at all times operating the bu11 in the scope of his employment with

              Defendant PBR.

       24, Defendant PBR operates their bar with policies and procedures regarding the operation

              of their mechanical bull.

       25. Defendant PBR markets itself as an expert in safe mechanical bu11 riding.

       26. In fact,"PBR" is an acronym for Professional Bull Riders.

       27. As a result ofthe negligence and/or gross negligence of Defendant Doe and Defendant

              PBR, Plaintiff Clark has suffered substantial damages, including a surgery for her

              ankle, and incurred numerous medical bills. She has diminished working capacity and

              lost wages. Her pain continues and is expected to persist for a lifetime. Plaintiff Clark's

              life will. never be the same.

                                 Count 1: Ne~li~ence A~ai~ist Defendant Doe

        COMES NOW,Plaintiff Clark, and for her claim for negligence against Defendant John

 Doe, says:

        28. Plaintiff adopts and restates all of the above paragraphs as if set for fully here again.
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                                                                                                 c:

                                                                                                 r7`
                                                                                                 ~~



      29. At all times mentioned herein, Defendant Doe was an agent, servant, and/or employee

         of Defendant PBR.
                                                                                                 ~~
      30. Defendant Doe's job duties included describing risks of bull riding and complying      "'
                                                                                                 r~--
                                                                                                 c~
                                                                                                 c
         with patron's requests to end bull rides.                                                G




      31. Plaintiff requests leave of court to modify this petition and identify Defendant Doe   ~

         with particularity following Defendant PBR's responses to initial discovery regarding

         their identity.                                                                         ~'

      32. Defendant Doe held themselves out to be an expert in safe and professional

         mechanical bull riding.

      33. Defendant Doe had a duty to use the same level of care as a professional mechanical

         bull operator, and to use reasonable care to protect patrons from harm.

      34. Defendant Doe breached these duties and was guilty of the following acts of

         negligence, carelessness, and recklessness:

             a. Failure to operate the mechanical bull in a safe manner;

             b. Failure to explain the risks associated with mechanical bull riding;

             c. Failure to stop the bull after Plaintiff Clark requested;

             d. Failure to understand how to operate the bull in a safe manner;

             e. Failure to maintain the bull in good repair;

             f. Failure to slow the bull so that Plaintiff Clark could get off;

             g. Failure to tie Plaintiff Clark's leg into the stirrup i~ a manner that would

                 prevent her from having her ankle shattered if she came off the bull;

             h. Causing the bull to suddenly and violently pitch forward after Plaintiff Clark

                 requested getting off the bull, resulting in serious injury.



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      35. Defendant Doe was performing the duties as a mechanical bull operator in a careless,

         reckless and negligent manner in that they:

              a. Failed to use reasonable care;

             b. Failed to observe the risk associated with operating the mechanical bull;

             c. Failed to explain the risk to Plaintiff Clark;

              d. Coercing Plaintiff Clark to ride the bull against her wi11;

      36. In each respect itemized above, Defendant Doe showed a complete indifference to

          and/or conscious disregard for the safety of others, including Plaintiff Clark and

         others similarly situated to Plaintiff Clark.

      37. Defendant Doe failed to operate the bull in accordance with the policies and practices

          of safe mechanical bull operation.

      38. All of Defendant Doe's negligent acts related to operation of'the mechanical bu11 are

         imputed to Defendant PBR by virtue of respondeat superior.

      39. Plaintiff Clark was thrown from the bu11 and had her ankle shattered as a direct and

          proximate result ofthe negligence of all defendants.

      40, Plaintiff Clark's injuries were jointly and severally caused by the negligence of all

          Defendants, and each of them, and Defendants' agents, servants, and employees,

          without any contributing negligence on the part of Plaintiffs.

      41. Defendant PBR is vicariously liable for the negligent acts of Defendant Doe as they

          relate to Plaintiff Clark's injuries.

      42. Plaintiff has suffered substantial injuries as a result of the negligence of all named

          defendants, including but not limited to past and future medical bills, past and future

          lost wages, and past and future pain and. suffering.



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           WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each

           of them,jointly and severally, with all other Defendants for damages as follows:

               a. F'or actual damages in an amount in excess of $25,000.00 in an amount that is

                  found fair and reasonable to compensate her for her injuries and damages;

               b. For aggravated damages (punitive damages) or damages for the aggravating
                                                                                                         c_
                  circumstances as wi11 serve to punish and deter Defendants from future                 0
                                                                                                         6


                   wrongdoing;

               c. For all other damages pled together with their costs and for such other relief as      -~

                  this Court deems just and proper under the circumstances.

                  Count 2: Vicarious Liabili~ and Negligence Against Defendant PBR

       COMES NOW Plaintiff Clark, and for her claim of negligence by virtue of vicarious

liability against Defendant PBR, states as follows:

       43. Plaintiff adopts and restates all of the above paragraphs as if set forth fu11y here again.

       44. At the time of Plaintiff Doe's negligence, Defendant Doe was an agent, servant and

           employee under the control, right of control,join and mutual control, or joint and

           mutual right of control of Defendant PBR.

       45. All acts of negligence, as described above, on the part of Defendant Doe were

           committed within the course and scope of Defendant Doe's employment of, with and

           for Defendant PBR and Defendant PBR is vicariously liable for the actions or

           inactions of Defendant Doe in relation to Plaintiff's injuries.

       46. Defendant PBR was further negligent in that it perniitted Defendant Doe to operate

           the rnechanieal bull in a reasonably prudent manner, when in fact Defendant Doe

           could not so operate the bull in that way.
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      47. Defendant PBR was further negligent in that it permitted Defendant Doe to operate

         the mechanical bull with adequate training and expertise to be considered a

         "professional bull rider."

      48. Plaintiff sustained severe injury as a direct and proximate result of the negligence of

         Defendants, and each ofthem,jointly, severally and in combination with the

          negligence of co-defendants as set for and alleged herein and hereinafter.

      49. Plaintiff's injury was caused joinly and severally by the negligence of all named

         Defendants, and each ofthem, and Defendants' agents, servants, and employees,

          without any contributing negligence on behalf of Plaintiffs.

      50. Defendant PBR is vicariously liable for the negligent acts of Defendant Doe as it

         relates to Plaintiff's injury.

      51. Plaintiff has suffered substantial injuries as a result ofthe negligence of all named

         defendants, including but not limited to past and future medical bills, past and future

         lost wages, and past and future pain and suffering.

          WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each.

             of them,jointly and severally, with all other Defendants for damages as follows:

             a. For a actual damages in an amount in excess of $25,000.00 in an amount that

                 is found fair and reasonable to compensate her for her injuries and damages;

             b. For aggravated damages (punitive damages) ar damages for the aggravating

                 circumstances as will serve to punish and deter Defendants from future

                 wrongdoing;

             c. For all other damages pled together with their costs and for such other relief as

                 this Court deems just and proper under the circumstances.
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                  Count 3•Negligent Hirin aig zd Supervision Against Defendant PBR

                  COMES NOW Plaintiff Clark, and for her claim of negligent hiring and

      supervision against Defendant PBR, states as follows:

      52. Plaintiff adopts and restates ali of the above paragraphs as if set forth fiully here again.

      53. Defendant PBR was further negligent in the following manners and particulars:

              a. They failed to make a reasonable inquiry as to Defendant Doe's competence

                  to safely operate the mec~lanical bull;

              b. They selected an incompetent and unfit staff member;

              c. They failed to select a competent and fit staff member;

              d. They hired and retained an unsafe and unqualified staff member; and,

              e. They hired and retained an inadequately trained. and incompetent staff

                  member.

      54. Defendant PBR owed the general public, including Plaintiff, a duty to determine the

          qualification of its agents, servants and employees, including but not limited to:

              a. Adequately evaluating applicants before hiring them as mechanical bull

                  operators; and,

              b. Adequately training and supervising said agents, servants and employees; and,

              c. Adequately evaluating these employees'job performance so as to discharge

                  any incompetent or negligent employee before they injured the public.

       55. It was the duty ofPBR to exercise ordinary care rlat to hire or retain an employee that

          PBR kliew or should have known posed a risk of harm to others where is reasonably

          foreseeable that Defendant Doe was reasonably likely to make the type of mistake

          that injured Plaintiff.



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      56, As a direct and proximate result of the negligence of defendants, and each ofthem,         _..

          jointly, severally, and in combination with the negligence of co-defendants as set         0
                                                                                                     -~
          forth and alleged herein and hereinafter, Plaintiff suffered serious injury.

      57. Plaintiff has suffered substantial damages because of the negligence of all named

          defendants, including but not limited to past and future medical bills, past and future

          lost wages, and past and fut~zre pain and suffering.

          WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each

             ofthem,jointly and severally, with all other Defendants for damages as follows:

              a. For actual damages in an amount in excess of $25,000.00 in an amount that is

                 found fair and reasonable to compensate her for her injuries and damages;

              b. For aggravated damages (punitive damages) or damages for the aggravating

                 circumstances as will serve to punish and deter Defendants from future

                 wrongdoing;

              c. For all other damages pled together with their costs and for such other relief as

                 this Court deems just and proper under the circumstances.

Submitted this 8~' Day of May,2018.

                                                    Respectfully submitted,

                                                    OTT LAW FIRM


                                                                 y
                                                    Joseph A. Ott, #67889
                                                    6115 Eveline Street
                                                    St. Louis, MO 63139
                                                    Telephone: {314)293-3756
                                                    Facsimile: (314)228-0021
                                                    Attorneysfor Plaintiff




                                               10
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                     IN THE CIRCUIT COURT OF ST. LOUIS CITY
                        TWENTY-SECOND JUDICIAL CIRCUIT
                               STATE OF MISSOURI

 MARCIA CLARK,

       Plaintiff,                                  Cause No.: 1822-CC00$69
 v.
                                                   Division No.: 1
BALLPARK VILLAGE HOLDINGS
BLOCK 600, LLC, d1b/a PBR ST. LOUIS:
A COWBOY BAR

 And

 •     ti


       Defendants.

                                  NOTICE OF SERVICE

       COMES NOW Joseph Ott, Attorney for Plaintiff Clark, and files the attached Affidavit of

Service and Special Process Server Return Summons that shows ser~rice was perfected on

Defendant Ballpark Village Holdings on Mav 10, 2018.

       Submitted this 4rh Day of June, 2018.

                                                   Respectfully submitted,

                                                   OTT LAW FIRM


                                                       ~ ~~
                                                   Joseph A. Ott, #67889
                                                   6115 Eveline Street
                                                   St. Louis, MO 63139
                                                   Telephone: (314) 293-3756
                                                   Facsimile: (314)228-0021
                                                   Attorneysfor Plaintiff




                                               1
        Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 28 of 46 PageID #: 42



                                                        AFFIDAVIT OF SERVICE

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Case:                     Court
                                                                       St. Louis(Clty}, MO                        2265445(18-SMCC-2331)
1822-CC00869              22nd )udltial Circuit Court
                                                                       Defendant/ Responder~r.
 Alaintiff /Petitioner:
                                                                       BALLPARK VIt1.AGE HOLDINGS BLOCK 600 LLC
 MARCtA CLARK
                                                                       Far;
 Received by:
                                                                       07T lAW FIRM
 Pro Serve
                                                                                                                   Court Date:
 To be served upon:                                                                                                May 31, 2018
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 BALLPARK VlLI.AGE HOLDINGS BLOCK 600 LLC, aka DBA
 DUTY P6R: A COWBOY BAR

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ReclpienC Name J Address: BALLPARK VfLLAGE HOLDIN                                      MO    63102
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Manner of Service:        Authorized, May 9, 201$, 1:14 pm COS
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                                                                              at 12:OOpm CDT}
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Additions! Comments:                                                                                            COW80Y BAR,
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Tim Moore                                   date
329

Pro Serve                                                                                       Comm'sssion Expires
6614 Clayton Rd 311
St. Louts, Mo 63117
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         Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 29 of 46 PageID #: 43



                                                 CITY OF ST Lt}UIS, MISSOURI
             IN THE 22ND JUDICIAL CIRCUIT CUUItT,

                                                              Case Number: 1822-CCOQ869
Judge or Division,                                                                                                                    T M(3C}RE
MICHAEL K£LLAAt MULLFN
                                        Ptainriff'~/Petitianer's AttorneyJAddress
PlaintifflPetitioner:
                                        30SEF'H A OTT
MARCIA,CLARK                            1432 KENDON DR
                                    vs. SAINT LOUIS M(7 63131
                                        Court Address:
I3efent4antlRespondent:                 CNIL CQURTS BUILDING
 BALLPARK VILLAGE H(}LDTNGS BLOCK 600    10 N TUCKb'~ BLVD
LLC                                     SAINT LOUIS,M() 63101
Nature of Spit:                                                                                                                        ste File Stem
CC PerS In' -Othez'
                                                         Summons in Civil Case
    The                       to: BALLPARK VILLAGE HOLFINGS BLOCK 60d LLC
                                  Alias: DBA PBR 5T LOi3I5 A COWBOY BAR
 MANAG~It ON DUTY
 PER:A CQWBO'Y BAR                                                                                         SPECIALPROCES~ SERVER
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         ~~,~ W   ...               above address a!~ within                                                 the relief demsnded in the petition.
                     ~S
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         i
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                                          May 1,2018                                      ~'7".,~.,.,,~„f                     ~,,,,
         js,~

                                                     Date                                                         Cterk
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                                                              Sheriffs or Server's Return
                                                                           within thirty days after the date of issue.
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     Y certify that T have served the above summons by: (check one)
                                                                              DefendantlRespondent.
     ❑ delivering a copy ofthe summons and a copy ofthe petition to the
                                                    of the petition at the dwellin g place ar usual abode ofthe Defendant/Respcmdent with
     ❑ leaving a copy ofthe summons and a copy                                ofthe  Defendant'slRespondent's family over the age of 15 yeazs.
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    in                                        (County/City ofSt Louis}, MO,an

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                                Subscribed and sworn to before me on                                              Cam)•
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      A copy of the summons and a copy of the petition must
      suits, see Su reme Court Rule 54.




                                                        t Id # iB-SMCC-2331               1 of 1                  Civil Procedtue Form No. 1,Rules 54.OS — 54,45,
 OSCA(7-08)SM30(SMCC)For Court Llse Uttty: Documen                                                         54.13,end 54.2Q; SU6.124 — 506.144, and 506.150 RSMo
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 30 of 46 PageID #: 44




                       IN THE CIRCUIT COURT OF ST. LOUIS CITY
                          TWENTY-SECOND JUDICIAL CIRCUIT
                                 STATE OF MISSOURI

MARCIA CLARK,

        Plaintiff,                                    Cause No.: 1822-CC00869
v.
                                                      Division No.: 1
BALLPARK VILLAGE HOLDINGS
BLOCK 600, LLC, dlbia PBR ST. LOUIS:
A COWBOY BAR



Jt?HN DOE,

        Defendants.

           MOTION FOR LEAVE TO FILE SECOND AMENDED PETITION BY
                             INTERLINEATION

        COMES NOW Plaintiff Marcia Clark, by and through her lawyer, and for her Motion for

Leave to File Second Amended Petition by Interlineation, states as follows:

     1. This motion is made pursuant to Mo. R. Civ. Pro. 5533(a), which indicates that "...the

        pleading maybe amended only by leave ofcourt or by written consent ofthe adverse party;

        and leave shall be freely given when justice so requires."

     2. In the alternative, Plaintiff offers her motion pursuant to Mo. R. Giv. Pro. 55.33(d), which

        permits "...service of a supplemental pleading setting forth transactions or occurrences or

        events that have happened since the date of the pleading sought to be supplemented."

     3. Plaintiffserved a summons and copy ofthe petition on SL Western Lounge,LLC St. Louis:

        A Cowboy Bar on May 9, 2018.

     4. Counsel for Defendant has indicated that the correct legal entity in this suit is SL Western

        Lounge, LLC(See Email from Opposing Counsel, Attached as Exhibit A).
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     5. Plaintiff has drafted her Second Amended Petition replacing every instance of Ballpark

          Village Holdings, Block 600 LLC St. Louis: A Cowboy Bar with SL Western Lounge,

          LLC(See Second Amended Petition, Attached as Exhibit B).

     6. Plaintiff has attached a Proposed Order that grants her motion to amend petition by

          interlineation, striking all references Ballpark Village Holdings, Block 600 LLC St. Louis:

          A Cowboy Bar and replacing them with SL Western Lounge, LLC.(See Proposed Order,

          Attached as Exhibit C).

Submitted this 25t'' Day of June, 2018.

                                                       Respectfully submitted,

                                                       OTT LAw FIRM



                                                       Joseph A. Ott, #67889
                                                       6115 Eveline Street
                                                       St. Louis, MO 63139
                                                       Telephone: {314)293-3756
                                                       Facsimile: {314)228-0021
                                                       Attorneysfor Plaintiff

                               CERTIFICATE OF SERVICE AND
                       CERTIFICATE OF COMPLIANCE WITH RULE 55.03(a)

        The undersigned certifies that a true and correct copy of the foregoing was served by the
Court's electronic filing system,this 25th day of May,2018,on the counsel ofrecord listed below.
In addition, the undersigned counsel certifies under Rule SS.Q3(a) of the Missouri Rules of Civil
Procedure that he has signed the original of this Certificate and the foregoing pleading.

 Jacqueline M. Sexton.
 1200 Main Street, Suite 2200
 Kansas City, Missouri 64105
 816-472-7474
 816-472-6262(fax)
 816-471-4537 (direct)
  Email: ~~L~:t;,r;`"ci~.fwpc' ~`~~.._~F~~:
 Website: ,~,~~~.fs~p~la~~.~:t,,Ez-
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 32 of 46 PageID #: 46
               Case:
Ott Law Firm Mail      4:18-cv-01223-JCH
                  -Clark v. PBR                 Doc. #: 1-2 Filed: 07/25/18 Page: 33 of 46 PageID #: 47
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                                                                                                       Joseph Ott <joe@ott.law>



        Clark v. PBR
        Joseph Ott <joe@ott.law>                                                                    Mon, Jun 11, 2018 at 2:07 PM
        To: Jackie Sexton <jsexton@fwpclaw.com>
        Cc: Zach Bowles <zbowles@iwpclaw.com>

         That is the deal. Sounds good. Let me know when we can check it out.

         On Mon, Jun 11, 2018 at 2:02 PM Jackie Sexton <jsextor~ a~fwpclaw.cc~m> wrote:

           Dear Joe,



           The correct legal entity far PBR is SL Western Lounge, LLC. Please confirm we have your agreement to amend
           your petitian to reflect the proper party (which we consent to) and that we have 30 days to file a responsive pleading
           from the date the amended pleading is filed.



            I have communicated your request to inspect to my client and should have an answer shartly.



           Yours truly,



           Jackie

                                                                                   r
            Fo~an~o.~lll~c~c~r~s, Ro~~~z, Ho~~~ ~ C~zAa~~~fl~t~ ~~


           ~acQcceliree ~f'1. ~'exton

          ', 1200 Main Street, Suite 2200

          'i Kansas City, Missouri 64105

           816-472-7474

           816-472-6262 (fax)

           816-471-4537 (direct)

                          '..i   i   .".



            Website: www.f~pcla~r,corr~




1 of2                                                                                                                   6!2512018, 11:35 AM
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2 of2                                                                                                                                                                                             6125/2018, 11:35 AM
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                    IN THE CIRCUIT COURT OF ST. LOUIS CITY
                       TWENTY-SECOND JUDICIAL CIRCUIT
                              STATE OF MISSOURI

MARCIA CLARK,

      Plaintiff,                                     Cause No.: 1822-CC00869
v.
                                                     Division No.: 1
SL WESTERN LOUNGE,LLC

And                                                  JURY TRIAL DEMANDED

JOHN DOE,

      Defendants.

                                 SECOND AMENDED PETITION

                                              Introduction

      1. Plaintiff Marcia Clark ("Clark") brings this personal injury action against Defendant

          John Doe("Doe")for injuries caused when Defendant Doe negligently operated a

          mechanical bull, causing serious injury.

      2. Plaintiff Clark asserts that Defendant Doe was acting in the course and scope of his

          employ with SL Western Lounge, LLC("PBR") who is liable for her injuries as well.

                                           Parties and Jurisdiction

      3. Plaintiff Clark resides at Somerset Drive, Urbana, Illinois.

      4. Defendant PBR is a domestic corporation licensed to do business in Missouri. They

          can be served with process on their registered agent at the address listed above.

      5. Defendant Doe is the employee ofPBR wha was operating the mechanical bull at the

          time of Plaintiff's injury. Plaintiff requests leave of court to modify her petition

          following initial discovery as to the identity of Defendant Doe.
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         6. This is the proper venue per Mo. Rev. Stat. 508.010 because all of the facts giving

              rise to Plaintiff's claim for relief occurred at Defendant PBR's location at 601 Clark

              Avenue, St. Louis, Missouri.

                                                  Facts Common to A11 Counts

         7. On or around May 20, 2016, Plaintiff Clark visited the PBR Bar located at 601 Clark

              St., St. Louis, Missouri.

         8. Defendant PBR awns and operates the bar located at 601 Clark St., St. Louis, Missouri

         9. Defendant PBR's bar is marketed as a "[1]ively country bar offering cocktails, brews,

              a dance floor & a mechanical bull in rustic chic digs."1

          10. Around 1:30 PM, Plaintiff Clark and her group of friends began to watch the

              mechanical bull located at Defendant PBR's Clark Street bar. At that time, another

              person was riding the bull.

          11. Defendant John Doe was operating the bull in the course and scope of his employment

              with Defendant PBR at all times relevant to this lawsuit.

          12. Defendant Doe began trying to coerce Plaintiff Clark to ride the bull around the time

              that Plaintiff Clark started to watch the other woman ride. Defendant Doe teased

              Plaintiff Clark and continued to press her to ride the bull. Defendant Doe also assured

              Plaintiff Clark that the bu11 was safe and that he would operate it in a slow and relatively

              gentle manner.

          13. After about 15 minutes of coercion and repeated promises that the bull would be

              operated at a very low intensity, Plaintiff Clark agreed to ride the bull.




 1 PBR st Louis — Google Search (201&). htt~s-i~~~~vc~ ~c~c~~te cor~tts~ar€;h`?c~=PBIw+sty-1o~tis&iu=utf-8&ae—utf-
       -t-firefox-la-1-ab (last visited April 27, 201$}.
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      14. When Plaintiff Clark entered the area restricted to bull riders and operators near the
                                                                                                     n
          mechanical bull, she again expressed reservations about riding the bull to Defendant

          John Doe.

       15. Defendant Doe again assured Plaintiff Clark that the bu11 would be operated at a lessor    a
                                                                                                     t~
                                                                                                     C

          intensity during Plaintiff Clark's ride. Defendant Doe even Helped boost Plaintiff Clark
                                                                                                     ~,
          onto the ride. Once on the ride and before it started, he again assured Plaintiff Clark    0

          that he would operate the bull with less travel, speed and intensity than nonlial.

       16. Defendant Doe then began operating the bull that Plaintiff Clark was riding. The bull

          operated at a low speed, and did a few spins with a small amount of travel for a ride of

          about 30 seconds.

       17. After about 30 seconds riding the bull, Plaintiff Clark told Defendant Doe that she was

          done riding the bull. She said "I'm done" and looked a~ Defendant Doe.

       18. Defendant Doe acknowledged that Plaintiff Clark was done riding by verbally and non-

          verbally indicating the understanding.

       19. Then, the bull suddenly and without warning to Plaintiff Clark, the bull heaved and

          pitched. The bull pitched forward, with it's nose and front moving violently downward.

          The downward movement was of greater travel, speed and intensity than at any other

          point during the ride.

       20. Plaintiff Clark's body began flying off the bull because of the violent pitching.

          However, her left ankle was caught on the bull. Her ankle was shattered by the violent

          and unexpected twisting force that threw her from the bull.

       21. After flying off the bull, impacting the ground and beginning to cry and scream from

          the pain, Plaintiff Clark carne to rest a few feet away from the bull.
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       22. Defendant Doe noticed that Plaintiff Clark was hurt, and immediately began yelling to

              his manager that "she signed the waiver! She signed the waiver!" Defendant Doe didn't

              care that Plaintiff Clark was hurt, and only cared about himself.

       23. Defendant Doe was at all times operating the bull in the scope of his employment with

              Defendant PBR.

       24. Defendant PBR operates their bar with policies and procedures regarding the operation

              of their mechanical bull.

       25. Defendant PBR markets itself as an expert in safe mechanical bull riding.

       26. In fact,"PBR"is an acronym for Professional Bull Riders.

       27. As a result ofthe negligence andlor gross negligence of Defendant Doe and Defendant

              PBR, Plaintiff Clark has suffered substantial damages, including a surgery for her

              ankle, and incurred numerous medical bills. She has diminished wanking capacity and

              lost wages. Her pain continues and is expected to persist for a lifetime. Plaintiff Clark's

              life will never be the same.

                                 Count 1: Ne~li~ence Against Defendant Doe

        COMES NOW,Plaintiff Clark, alid for her claim for uegligenee against Defendant John

 Doe, says:

        28. Plaintiff adopts and restates all of the above paragraphs as if set for fully here again.

        29. At all times mentioned herein, Defendant Doe was an agent, servant, andlor employee

              of Defendant PBR.

        3Q. Defendant Doe's job duties included describing risks of bull riding and complying

              with patron's requests to end. bull rides.
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      3L Plaintiff requests leave of court to modify this petition and identify Defendant Doe
                                                                                                   t~
          with particularity following Defendant PBR's responses to initial discovery regarding    ~
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                                                                                                   —~h

                                                                                                   is J

          their identity.                                                                          ~--

      32. Defendant Doe held themselves out to be an expert in safe and professional
                                                                                                   ~~
          mechanical bull riding.                                                                  ~
                                                                                                   s,>

      33. Defendant Doe had a duty to use the same level of care as a professional mechanical      ~
                                                                                                    8

          bu11 operator, and to use reasonable care to protect patrons from harni.                 -~

      34. Defendant Doe breached these duties and was guilty ofthe following acts of               ~

          negligence, carelessness, and recklessness:

              a. Failure to operate the mechanical bull in a safe manner;

              b. Failure to explain the risks associated with mechanical bull riding;

              c. Failure to stop the bull after Plaintiff Clark requested;

              d. Failure to understand how to operate the bull in a safe manner;

              e. Failure to maintain the bull in good repair;

              f. Failure to slow the bull so that Plaintiff Clark could get off;

              g. Failure to tie Plaintiff Clark's leg into the stirrup in a manner that would

                  prevent her from having her ankle shattered if she came off the bull;

              h. Causing the bull to suddenly and violently pitch forward after Plaintiff Clark

                  requested getting off the bull, resulting in serious injury.

       35. Defendant Doe was performing the duties as a ineehanical bull operator in a careless,

          reckless and negligent manner in that they:

              a. Failed to use reasonable care;

              b. Failed to observe the risk associated with operating the mechanical bull;
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             c. Failed to explain the risk to Plaintiff Clark;

             d. Coercing Plaintiff Clark to ride the bull against her will;

      36. In each respect itemized above, Defendant Doe showed a complete indifference to

         and/or conscious disregard for the safety of others, including Plaintiff Clark and

         others similarly situated to Plaintiff Clark.

      37. Defendant Dc~e failed to operate the bull in accordance with the policies and practices

         of safe mechanical bull operation.

      3$. A11 of Defendant Doe's negligent acts related to operation ofthe mechanical bu11 are

         imputed to Defendant PBR by virtue of respondeat superior.

      39. Plaintiff Clark was thrown from the bull and had her ankle shattered as a direct and

          proximate result ofthe negligence of all defendants.

      40. Plaintiff Clark's injuries were jointly and severally caused by the negligence of all

          Defendants, and each of them, and Defendants' agents, servants, and employees,

          without any contributing negligence on the part of Plaintiffs.

      41. Defendant PBR is vicariously liable for the negligent acts of Defendant Doe as they

         relate to Plaintiff Clark's injuries.

      42. Plaintiff has suffered substantial injuries as a result of the negligence of all named

          defendants, including but not limited to past and future medical bills, past and future

          lost wages, and past and future pain and suffering.

          WHEREFORE,Plaintiff Clark prays far judgement against all Defendants, and each

          of them,jointly and severally, with all other Defendants for damages as follows:

              a. For actual damages iu an amount in excess of $25,000.00 in an amount that is

                 found fair and reasonable to compensate her for her injuries and damages;
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               b. For aggravated damages (punitive damages) or damages for the aggravating

                  circumstances as will serve to punish and deter Defendants from future

                   wrongdoing;

               c. For all other damages pled together with their costs and for such other relief as

                  this Court deems just and proper under the circumstances.

                  Count 2: Vicarious Liability and Ne~li eng ce A~ainsY Defendant PBR

       COMES NOW Plaintiff Clark, and for her claim of negligence by virtue of vicarious

liability against Defendant PBR,states as follows:

       43. Plaintiff adopts and restates all of the above paragraphs as if set forth fully here again.

       44. At the time ofPlaintiff Doe's negligence, Defendant Doe was an agent, servant and

           employee under the control, right of control,join and mutual control, or joint and

           mutual right of control of Defendant PBR.

       45. All acts of negligence, as described above, on the part of Defendant Doe were

           committed within the course and scope of Defendant Doe's employment of, with and

           for Defendant PBR and Defendant PBR is vicariously liable for the actions or

           inactions of Defendazit Doe in relation to Plaintiff's injuries.

       46. Defendant PBR was further negligent in that it pernzitted Defendant Doe to operate

           the mechanical bull in a reasonably prudent manner, when in fact Defendant Doe

           could not so operate the bull in that way.

       47. Defendant PBR was further negligent in that it permitted Defendant Doe to operate

           the mechanical bull with adequate trai~iing and expertise to be considered a

           "professional bull rider."
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      48. Plaintiff sustained severe injury as a direct and proximate result of the negligence of

          Defendants, and each ofthem,jointly, severally and in combination with the

          negligence of co-defendants as set for and alleged herein and hereinafter.

      49. Plaintiff's injury was caused joinly and severally by the negligence of all named

          Defendants. and each of them, and Defendants' agents, servants, and employees,

          without any contributing negligence on behalf of Plaintiffs.

      50. Defendant PBR is vicariously liable for the negligent acts of Defendant Doe as it

          relates to Plaintiff's injury.

      51. Plaintiff has suffered substantial injuries as a result ofthe negligence of all named

          defendants, including but not limited to past and future medical bills, past and future

          lost wages, and past and future pain and suffering.

          WHEREFORE,Plaintiff Clark prays for judgement against                Defendants, and each

                                                                         all
              of them,jointly and severally, with all other Defendants for damages as follows:

              a. For a actual damages in an amount in excess of $25,000.40 in an amount that

                  is found fair and reasonable to compensate her for her injuries and damages;

              b. For aggravated damages (punitive damages) or damages for the aggravating

                  circumstances as will serve to punish and deter Defendants from future

                  wrongdoing;

              c. For all other damages pled together with their costs and for such other relief as

                  this Court deems just and proper under the circumstances.

                  Count 3•Negligent Hiring and Supervision Against Defendant PBR

                  COMES NOW Plaintiff Clark, and for her claim of negligent hiring and

       supervision against Defendant PBR,states as follows:
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       52. Plaintiff adopts and restates all ofthe above paragraphs as if set forth fully here again.

       53. Defendant PBR was further negligent in the following manners and particulars:

              a. They failed to make a reasonable inquiry as to Defendant Doe's competence

                  to safely operate the mechanical bull;

              b. They selected an incompetent and unfit staff member;

              c. They failed to select a competent and fit staff member;

              d. They hired and retained an unsafe and unqualified staff member; and,

              e. They hired and retained an inadequately trained and incompetent staff

                   member.

       54. Defendant PBR owed the general public, including Plaintiff, a duty to determine the

           qualification of its agents, servants and employees, including but not limited to:

              a. Adequately evaluating applicants before hiring them as mechanical bull

                   operators; and.,

               b. Adequately training and supervising said agents, servants and employees; and,

               c. Adequately evaluating these employees'jab performance so as to discharge

                   any incompetent or negligent employee before they injured the public.

       55. It was the duty ofPBR to exercise ordinary care not to hire or retain an employee that

           PBR knew or should have known posed a risk. of harm to others where is reasonably

           foreseeable that Defendant Doe was reasonably likely to make the type of mistake

           that injured Plaintiff.

       56. As a direct and proximate result of the negligelice of defendants, and each of them,

           jointly, severally, and iu combination with the negligence of co-defendants as set

           forth and alleged herein and hereinafter, Plaintiff suffered serious injury.
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       57. Plaintiff has suffered substantial damages because ofthe negligence of all named

          defendants, including but not limited to past and future medical bills, past and future

          lost wages, and past and future pain and suffering.

          WHEREFORE,Plaintiff Clark prays for judgement against all Defendants, and each

              of them,jointly and severally, with all other Defendants far damages as Follows

              a. For actual damages in an amount in excess of $25,000.00 in an amount that is

                  found fair and reasonable to compensate her for her injuries and damages;

              b. For aggravated damages (punitive damages) or damages for the aggravating

                  circumstances as will serve to punish and deter Defendants from future

                  wrongdoing;

              c. For all other damages pled together with their costs and for such other relief as

                  this Court deems just and proper under the circumstances.

Submitted this 25~h Day of June, 2018.

                                                    Respectfully submitted,

                                                    4TT LAw FixM



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                                                    Attorneysfor Plaintiff
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 45 of 46 PageID #: 59




                        IN THE CIRCUIT COURT()F ST. LOUIS CITY
                           TWENTY-SECOND JUDICIAL CIRCUIT
                                  STATE OF MISSOURI

 MARCIA CLARK,

        Plaintiff,                                      Cause No.: 1822-CC00869
 v.
                                                        Division No.: 1
 SL WESTERN LOUNGE,LLC

 And                                                                                                      f

 JOHN DOE,                                                                                                :~

        Defendants.

       ORDER GRANTING LEAVE TO AMEND PETITION BY INTERLINEATION

         After reviewing Plaintiff Clark's Motion for Leave to File Secand Amended Petition by
 Interlineation and the written consent submitted by Counsel for Plaintiff Clark, Plaintiff's Motion is
 hereby rah rated• Plaintiff's First Amended Petition is amended by interlineation, replacing all
 references to SL Western Lounge, LLC St. Louis: A Cowboy Bar and replacing them with SL
 Western Lounge, LLC.


 So Ordered:




 Han. Judge Michael Kellan Mullen
Case: 4:18-cv-01223-JCH Doc. #: 1-2 Filed: 07/25/18 Page: 46 of 46 PageID #: 60




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                          TWENTY-SECOND 3UDICIAL CIRCUI   T                  ~c~~p~G~ IRC IT
                                STATE OF MISSOURI                          ~YiRGU1T CLER qFF CE


 MARCIA CLARK,

        Plaintiff,                                    Cause No.: 1822-CC00869
 v.
                                                      Division No.: 1
 SL WESTERN LOUNGE,LLC

 And

 JOHN DOE,

         Defendants.



                                                         Leave to File Second Amended Petiti< by
          After reviewing Plaintiff Clark's Motion for
                                                    by Counsel for Plaintiff Clark, Plaintiff's l
  Interlineation and the written consent submitted
                                                    ion is amended by interlineatron, replacing
  hereby rag rated. Plaintiff's First Amended Petit
                                                      : A Cowboy Bar and replacing them wi
  references to SL Western Lounge, LLC St. Louis
  Western Lounge, LLC.


  So Qrdered:




  Hon. Judge Michael Ke11an Mullen
